                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

Darrell Jeffery Fortune,                                    Civil Action No. 3:19-cv-684

                   Plaintiff,
                                                             NOTICE OF REMOVAL
       vs.

Gaylor Electric, Inc. and Justin Baker,

                   Defendants.


       By this Notice of Removal, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446,

Defendant Gaylor Electric, Inc. (hereinafter “Defendant Gaylor”), through its undersigned

attorneys, hereby removes this civil action from the General Court of Justice, Superior Court

Division, Burke County, North Carolina (the “Superior Court”), to the United States District Court

for the Western District of North Carolina, Asheville Division. Defendant Gaylor states the

following grounds for removal:

                                    I.     INTRODUCTION

       1.      On September 18, 2019, Plaintiff Darrell Jeffery Fortune (“Plaintiff”) commenced

this action by filing a Complaint in the Superior Court, Case No. 19-CVS-1276 (“Complaint”). A

true and accurate copy of the Complaint is attached hereto as Exhibit A.

       2.      On November 15, 2019, Defendant Gaylor was served with a copy of the Complaint

and Summons. True and accurate copies of the Complaint and Summons served upon Defendant

Gaylor are attached hereto as Exhibits A and B, respectively.

       3.      Defendant Justin Baker has not yet been properly served with a copy of the

Summons and Complaint pursuant to Rule 4(j)(1) of the North Carolina Rules of Civil Procedure,

and therefore, he is not a needed party to this action or removal.




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       4.      The Complaint and the Summons attached as Exhibits A and B constitute all of the

process, pleadings, and orders served upon Defendant Gaylor in this action. Defendant Gaylor has

filed no pleadings in the Superior Court in this action.

                             II.     JURISDICTION AND VENUE

       5.      Venue is proper in the United States District Court for the Western District of North

Carolina, Asheville Division, as this case was originally filed in Burke County, North Carolina.

See 28 U.S.C. § 1446(a).

       6.      This Court has subject matter jurisdiction in this case based upon federal question

jurisdiction because Plaintiff’s Complaint alleges violations of the Fair Labor Standards Act

(“FLSA”) 29 U.S.C. § 203, et seq. and the Family Medical Leave Act (“FMLA”), 29 U.S.C. §

2601, et seq. This Court has original federal question jurisdiction over these claims because they

are based on a federal statute. See 28 U.S.C. § 1331.

                           III.    PROCEDURAL REQUIREMENTS

       7.      This Notice of Removal has been timely filed within thirty (30) days of Defendant

Gaylor’s receipt of the Complaint as required by 28 U.S.C. § 1446(b).

       8.      In accordance with 28 U.S.C. § 1446(d), a copy of this Notice will be filed with the

Clerk of the Superior Court and served upon all adverse parties promptly after the filing of the

original Notice of Removal in this action. A copy of this Notice is attached hereto as Exhibit C.

                                     IV.     CONCLUSION

       WHEREFORE, having fulfilled all statutory requirements, Defendant Gaylor hereby

removes this action from the General Court of Justice, Superior Court Division, Burke County,

North Carolina, to this Court, and requests that this Court assume full jurisdiction over this matter

as provided by law.




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Dated:       December 13, 2019           /s/ Stephen Dellinger
                                         Stephen D. Dellinger, Bar No. 16609
                                         sdellinger@littler.com
                                         LITTLER MENDELSON, P.C.
                                         100 North Tryon Street, Suite 4150
                                         Charlotte, NC 28202
                                         Telephone:        704.972.7000
                                         Facsimile:        704.333.4005

                                         Attorneys for Defendant Gaylor Electric, Inc.
                                         LLC




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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing NOTICE OF REMOVAL has been filed with

the Clerk of the Court using the CM/ECF system and served upon the following counsel of record

by placing the same in the United States mail, certified mail, return receipt requested, addressed

to the following as shown below this 13th day of December, 2019.

                                        Glen C. Shults
                                 Law Offices of Glen C. Schults
                                959 Merrimon Avenue, Suite 204
                                    Post Office Box 18687
                                     Asheville, NC 28814

                                      Attorney for Plaintiff

                                                    /s/ Stephen Dellinger
                                                    Stephen D. Dellinger, Bar No. 16609
                                                    sdellinger@littler.com
                                                    LITTLER MENDELSON, P.C.
                                                    100 North Tryon Street, Suite 4150
                                                    Charlotte, NC 28202
                                                    Telephone:        704.972.7000
                                                    Facsimile:        704.333.4005

                                                    Attorneys for Defendant Gaylor Electric.
                                                    Inc.




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